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               EXHIBIT A
                                     Case 1:21-cv-01736-YK Document 1-2 Filed 10/11/21 Page 2 of 14


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                        I77e information collected on this form is used solely for court administration purposes. This fo1'rn'§l§oes mr
i        ..-            supplement or replace thefiling and service ofpleadings or otherpapers as required by law or mies oj¢qourt4_
                                                                                                                                1
                  Commencement of Action:
                   Y( Transfer
                      Complaintfrom Another- Writ
                                             Jurisdiction
                                                  of Summons                           Petition
         S                                                                             Declaration of Taking
I        E
I
                  Lead Plaintiffs Name:                                                     Lead Defendant's Name:
         C         Jennifer Hynes                                                            Derry Township School District
1
   T                                                                                          Dollar Amount Requested:            within arbitration limits
I\
   I                  Are money damages requested? x Yes                          No                 (check one)                x outside arbitration limits
   O
   N                  Is this a Class Action Suit?                   Yes      * No             Is this an MD.IAppeal?                         Yes         WNo

                           Name o£Plaintif8Appellant's Attorney: Andrew w. Barbin _            _
Lil                                        -       Check here if you have no attorney (are a Self-Represented [Pro Se] Litigant)


v-t
                      TORT (do no! include Mus Tort)                 CONTRACT (do not include Judgments)         civil APPEALS
                        - Intentional                                  0 Buyer Plaintiff                              Administrative Agencies
                        ` Malicious Prosecution                        E Debt Collection: Credit Card                  ' Board of Assessment
                        ' Motor Vehicle                                III Debt Collection: Odler                         Board of Elections
                                                                                                                      |'
                           Nuisance                                                                                       Dept. of Transportation
I1                      - Premises Liability                                                                          I Statutory Appeal: Other
         S                 Product Liability (does not in elude
                                                                       E Employment Dispute:
                           mass fOY'0
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         E                 Slander/LibeV Defamation
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                      MASS TORT
                                                                       E Other:
                                                                           Breach of services contract
  O
i N'                   ` Asbestos                                          and 1983 action
                          Tobacco
                          Toxic Tort - DES
                       ' Toxic Tort - Implant                        REAL PROPERTY                                   MISCELLANEOUS
                          Toxic Waste                                   Ejectment                                      ` Common Law/Statutory Arbitration
                          Other:                                        Eminent Domain/Condemnation                    - Declaratory Judgment
    s
    I
     |                                                                  Ground Rent                                       Mandamus
    I

    I
                                                                        Landlord!Tenant Dispute                           Non-Domestic Relations
    II            i                                                        Mortgage Foreclosure: Residential              Restraining Order
    I                 PROFESSIONAL LIABLITY                                Mortgage Foreclosure' Commercial               Quo Warranto
                            Dental                                         Partition                                      Replevin
                         ` Legal                                           Quiet Title                                    Other:
I                           Medical                                        Other'
    !                    -- Other Professional:
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    L-..         -n
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         Case 1:21-cv-01736-YK Document 1-2 Filed 10/11/21 Page 3 of 14
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 Andrew W. Barbie, Esquire                                                                                        '    '
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 ANDREW W . Buzz, P.C.                                                                                                I 4
 5 Kasey CUM Suite 203                                                                     §24€.
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 Mechanicsburg, PA 17055                                                               Anomcf f°91=man¢
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             No THE CQURT OF COMMON PLEASFOR DAUPHIN COUNTY, PENNSYLVAMA


JENNIFERL. HYNES

                   AND                                  DOCKETNO.       808457874
TEAMCAREBEHAVIORALHEALTHLLC
                                                        Jury Trial D emended
                                  Plaintiffs,

                             v.

DERBY TOWNSHIP ScHo oLD1sT1ucr

                                  Defendant



                                            COMPLAINT

        Plaintiffs, by and through counsel, Andrew W. Barbin, P.C., hereby files this Complaint

against Defendant Derry Township School District (hereinafter "DTSD" or "Defendant"), and

avers as follows:

PARTIES

        1.         Plaintiff, Jemlifer L. Hynes, is an adult female resident of Pennsylvania and CEO

of the co-plallntiffbelow, residing at 232 Highland Road, Hershey, PA 17033 (hereinafter "Hynes"
                                                                                                                                       lI

or 'T1almtiff").                                                                  .v




        2.         Plaintiff, TEAMCare Behavioral Health, LLC ("TEAMCare" or "Plaintiff") is a

Pennsylvania limited liability corporation with main office at 1808 Colonial Village Lane, Suite

103, Lancaster, Pa 17601, and a local office at 5570 Derry Street, I-Iam'sburg, Pa 17111.
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            3.     Defendant, Derry Township School District, is a public school district and local

     agency under Pennsylvania law, with business office address at 30 E. Granada Avenue, Hershey,

     PA 17033 (hereinafter "DTSD" or "Defend ant").

    JURISDICTION AND VENUE

            4.     Defendant is located in Dauphin County.

            5.     Plaintiffs work and regularly do business in Dauphin County.

            6.     TEAMCare provides contract services to DTSD.

            7.     The material events giving rise to the claims occurred in Dauphin County.

            8.     Jurisdiction and venue over all claims is proper in Dauphin County, Pennsylvania.

    FACTS COMMON To ALL COUNTS

           9.      Plaintiff Hynes is CEO of plaintiff TEAMCare.

           10.     'IEAMCare provides Community Based Outpatient Services to various school

    districts in Central Pennsylvania.

           11.     In 2018 DTSD contracted with TEAMCare to provide Community Based

Outpatient Services to DTSD schools. See Exhibit A.

           12.     Services were further defined as "Psychological Services (Service) by the mutual

agreement of the Company and the School District. Specifically, the Company may perform any

of the following services:                                                                             s




           a)     Provide outpatient therapy services to identified Derry Township School District

                   students, and,

           b)     Provide otherpsychological-related services as School District and Company needs

                  require.




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       Case 1:21-cv-01736-YK Document 1-2 Filed 10/11/21 Page 5 of 14




        13.    The term of the agreement was as follows: "This Agreement will become effective

on August 27, 20 I8, and will renew every year un less that term is terminated in writing by mutual

agreement between us." (Emphasis added).

        14.    During the time from March 2020 to the June 2021, there has been an

unprecedented increase in the amount and severity of mental health issues for children of school

age. See e.g. Mental Health in High School Students at the Time of COVID-19: A Student's

PerspectiveI Am Acad Child Adolesc Psychiatry. 2020 Dec; 59(12): 1309-1310; Published 0dlne

2020 Aug 26. do: 10.1016[llJaac.2020.08.005; School During The Pandemic: Mental Health

Impacts On Students (NAMI California) (collecting studies, surveys and articles).

       15.     Limitations on high school mental health resources have been a .national rather

than merely local concern. See e.g. Students returnen,<z to school a{'terCOVID-19 facing scarce

mental healdl resources (USAToday, May 30, 2021); Marion Callahan, Mental health, testing

mandates top concerns of FA educators as COVID continues (Bucks County Courier

Times)(published March 3, 2021, updated March 5, 2021).

       16.    The Federal Department of Health, in its publication ED Covid 19 Handbook:

Roadmap to Reopening Safely and Meeting All Student's Needs, Vol. 2 (2021) at page 10

observed :

              Supporting Student Mental Health Needs

              In addition to meeting the social and emotional needs of students, schools should
              also be prepared to meet the mental health needs of their students. There is no
              question that COVID-19has taken a toll OD. the mental health of many students. For
              example, data from CDC shows that the proportion of student emergency
              depaxtment visits related to mental health has increased dramatically during the
              pandemic. A National Association of Elementary School Principals survey repolted
              in December that 84% of elementary school principals are very concerned about
              student mental health needs and 68% report that they do not have sufficient school-
              based mental health professionals to ad equately meet those needs.




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            17.    Jennifer Hynes attended the March 22, 2021 DTSD School Board meeting, as a

    concerned citizen with detailed direct knowledge of the COHC€IT1S above and the impact of Covid

    on DTSD resources for themental health services to its students.

            18.    Her comments appear in full in the public comment section of the meeting (at

    3:08:42 of the audio recording posted by DTSD at:

       https://www.hershev.kl2.t>a.us/cms/lib/PA09000080/Centricity/Domain/677/3-22-2021Board.mp3

    The gist of her comments were directed to underutilization and understaf6ng in the social sen/ice

    position. She observed that her company provides services to other districts as well as DTSD, and

    that only 6 DTSD students were served, which was dramatically lower than other districts, even

    smaller ones. She observed that DTSD had only one social worker and that they probably needed

    three more social workers given the number of students and variety of issues they face. She invited

    the Board to contact her with any questions regarding services her company provided.


           19.     She expressed concerns echoed throughout the education and mental health

    communities across America, which existed longbefore Covid exacerbated them.

           20.     She did so in a polite and factualmanner expressing sincere desire to assist DTSD to

    meet the unprecedented needs without criticism orblarne.

           21.     Within days, she received a letter from then DTSD School Board President .Toho Abel

    that TEAMCare services would not be renewed for the coming year.

           22.     There was no Notice and Opportunity to be heard as to any perceived concerns, and

no formal Board action at any meeting prior or subsequent to the issuance of the letter.                  I


           23.    It is believed and averred that one or more administrative personnel and/or school

board members took offence at the public comments and retaliated by directing the wrongful

termination of the TEAMCare contract.

           24.    Mr. Abel acted with actual or apparent authority as agent of DTSD .



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         25.     April 20, 2021, Plaintiff Hynes on behalf ofherself and Plaintiff TEAMCare texted

 Mr. Abel, "Just received the letter signed by you. This is complete retaliation since I spoke up about

 the lack of services 'm the schools.):

         26.     Mr. Abel, provided no justification for the action or response to the retaliation

 assertion, and instead suggested they would have to "agree to disagree."

         27.     There was not, and is not, an agreement between DTSD and TEAMCa:e to terminate

 the agreement as provided in the agreement.

        28 .     The agreement by its express terms automatically renews from year to year in absence

of mutual agreement to terminate and was in effect a "requirements" contract.

        29.     No material breach by TEAMCare was alleged or established prior to the anticipatory

repudiation.

        30.     Pretext may be implied by the fact that DTSD did not terminate the contract for breach

but merely provided notice ofjizture nonrenewal, allowing current services to continue until the

renewal/tenni11ation date.

        31.     The proffered non-renewal without cause is an anticipatory breach of the contact and

particularly the term provision thereof.

        32.     Termination was in fact retaliatory against Plaintiffs because of the protected spemh

ofPlairltiff Hynes at the March 22, 2021 DTSD School Board Meeting.

        33.     The notice of termination is not consistent with the terms of the contract, due proc

or the First Amendment rights of P1almtitTII-Iynes.

        34.     Prior to her First Amendment protected comments at the school board meeting, theme

was no issue which would have impacted continuation ofservices and no notice of any concern to be

addressed 'ut that respect.




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           35.     Any claim that the deqision was based on any performance ground would be false,

    defamatory and wrongfully derogatory of P1aintiffTEAMCare which maintains exemplaryservices

    and an impeccable reputation.

           36.     It is not known, at this time, which individualBoard Members and/or administxadve

    personnel were responsible for the purported non-renewaVretaliation.

           37.    Upon discovery, leave will be sought to add additional defendants as appropriate.

           38.     It is not known even whether Mr. Abel participated in the purported Board decision,

    or merely communicated a decision by others, as there is no public record of board action lawfully

    and formally being taken.

                                         CountI- Breach of Contract
                                         (TEAMCare against DTSD)

           39.    Paragraphs 1 to 38 are incorporated by reference as if restated verbatim

           40.    The notice of non-renewal was an anticipatory breach of the contract with PlaintiH`

TEAMCare.

           41.    TEAMCare will suffer loss of contract related income in an unliquidated amount as a

direct, proximate and foreseeable consequence of the breach.

           42.    When additional responsible parties are identified, leave to amend may be sought as

appropriate, as to intentional interference with contractual relations .

           Wherefore, Plaintiff TEAMCare seeks judgment on Countl for Plaintiff TEAMCare and

against DTSD for compensatory damages in an unliquidated amount in excess of the local arbitration

amount, together with such other relief as this Court may deemjust.

                                 Count II - Defamation and Disparagement
                                      (both Plaintiffs against DTSD)

          43.     Paragraphs 1 to 42 are incorporated by reference as if restated verbatim




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           44.       It is believed and averred that agents ofDTSD have communicated false, defamatory

 and disparaging, pretextual reasons for termination of the TEAMCare contract to DTSD parents and

 others.

           45.      Such communications have and will directly, proximately and foreseeably cause

 Plaintiff Hynes and Plaintiff TEAMCare loss of reputation and economic injury in unliquidsted

 amounts.

           46.      The specific participants, as well as time, date and place of such communications is

not yet known.

           47.      Leave to amend will be sought when the details are exposed in'discovery.


           Wherefore, P1aintiffTEAMCare and PlaintiEI-Iynes seek judgment on Count II for Plaintiff

TEAMCare and PlaintiffHynes against DTSD for compensatory damages 'm an unliquidated amount

'm excess of the local arbitration amount, together with such other relief as this Court may deemjusf.


                                           CountI[I 1983 Action
                                      (Plaintiff Hynes against DTSD)

        48.         Paragraphs 1 to 47 are incorporated by reference as if restated verbatim.

        49.         DTSD is a public School District (local agency) and state actor for purposes of 1983

action liability.

        50.         DTSD .wrongfu]ly terminated the contract of TEAMCare in retaliation for Plaintiff

Hynes's exercise of First Amendment petition and free speech rights in violation of PIaintiffHynw

individual constitutional rights and to the injury other property rights as an owner of TEAMCare in

respect to the improperly temlinated contract

        51.         The wrongfulretaljatory termination is actionable under42 U.C.S §1983 as aviolation

of Plaintiff Hynes' Constitutional rights.




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        52.     It is believed and averted that as yet unknown school board and/or administrative

personnel caused the actionable conduct, by 'Individual willful misconduct which caused the

actionable conduct by and on behalf ofDTSD, and a motion to amend this claim will be made when

discovery discloses the individuals responsible for the actionable conduct ofDTSD .

        53.     Pla'mtiflfI-Iynes has and will suffer direct, proximate and foreseeable economic and

reputational injury 'm an unliquid ated amount as the result of the violation of her constitutional rights


        Wherefore, Plaintiff Hynes seeks judgment on Count III for Plalmtiff Hynes and against

DTSD for compensatory damages in an liquid ated amountin excess of the local arbitration amount,

together with such other relief as this Court n




                                                  Attorney for Plalmtiff

Date: June 24, 2021




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                                            Corporate Office-Lancastur cp_unly
                                            1808 Colonist vlilage Lane       . -                                                    .
                                                                                        Satellite Office - Daunhln County
                                            SuRe 163 .                                  5570 Derry Slreei
                               i LLC
                                            Lancaster, PA 17601         .               Henlsburg, PA 17111
                                            Pl\DH9 (717)391-0172 Fax: (717}391-7771     Phone (7173525-9394 Fax* (717)5259B82




                                                                            TEAMCare Behavioral Health, LLC
                                                                                   1808 Colonial Village Lane
                                                                                        Lancaster. PA "l7601

                                                                                                 August 16, 2018
A

      Derry TownShip School District
      30 E. Granada Ave #200
      [~lersl1ey, FA 17033

      Letter of Agreement: Community Based Outpuxicnt Program (CBOP)

      Dear Lisa Sviben Miller,

      This lever is an agreenlcut'bel»veez1 the ptinics of 'I`EAMCme Behavioral Health, LLC and Derry

      Township School District. Both parties have agreed that 'FEAMCarc.Bc11av1oraI I-Iealth, LLC will

      provide Community Based Outpatient Ser4}Ices in identified schools lllroughout the dis.;rlc1. This

      agreement is at this moment signed by a re1>1'esentativc of Derry Township School District and the

      Chief Operating Officer of TEAMCnre Behavioral I-lealth, LLC.



       Sincerely,




      l§rI.sti1u; Collignn
      Chief Operating 0fltice1'
                                                              ..... 1


       uc: Jemli fer L. Hynes, C180/Frwidenl of '1'l£AlvlCan: Behavioral Health, LLC-

Phone: ?17.391 .0172
Fax: 717_391.7771

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         m   ,' . .
                    Case 1:21-cv-01736-YK Document 1-2 Filed 10/11/21 Page 12 of 14




    TEAM     Behavioral Health, LLC
                                                              Corporate Ortlce-Lancaster county
                                                              1808 commas Village Lane
                                                              Suite 103
                                                                                                                &a!ulfEle._O[f190 gpauphln County
                                                                                                                5576 Derry Street
                                                                                                                                                          i

                                                              Lsncasler, PA 17601                               Hairisbufg, in 17111
                                                              Phone 1717)381 ~0172 Isaac (717)381-7771          Phone (717)525-9804 Fax: ('r17152s»9e§2


                                                              Letter of Agreement


          Derry Township School DIs1rfc1
          aN E. Granada Ava #200
          Haxshey. PA 17033


          Thls queuer sununénizss the agrgsmerl between TE4MCara Bp11av£omI Haaxlh, LLC and the Deny TovmshipSchou€ Dlstrld regarding
          the Community Based Oulpalony Prcgrem (CBDP).                                                    '

          As I Understand lt. we have agrees Io asiollows:

               1.   Agreement

               TEAMCare Behavlora Hsahh. LLC WUI provide Community Based Outpatient services to the Derry Tavmshlp School Gstrldt
               students at idantl§ed schools wllhln the dlstricL

               Terms will be deilhested béicw.

               2.   Term

               This Agreement will become effective on Angus!27, 2018 and will renew every year. unless that term Is laminated In wrlllng be
               mu1ual agreement between us.
                                                                                                                                                              o
               s.   TEAMCara BahaWoral Health, LLC eths "Company") Satvicss and Responsibllltins.

               The Company shall pmvlda professional services in the area of:

               Paycholoqlcal Servlc9s_ {"Sara$cas") by the mutual agreement of the Company and The School DIs1rlcL Speci!lcaBy. the
               Company may perform anyofihe following services'


                                 a)      Rrovlde pulpallen: therapy services to Idanltiled Derry Township School Dislrlci students: and

                                 b)      Pmvlde other psychological-related services .as SchooI'Dlstvlc\ and
I
                                         Company needs require.                '

          The Company Qenilfies that they are en lndependenxbuslness and have me knv»vledgelskiIIs and equlpmant to provide the services
          outlined In lhls scope of Services and Re$ponslbIIl§IQ$. The
                                                                     . Company also cenlNes that they have a proprietary
                                                                                                                   .     Inletest in their own
          business. The Cmnpany further cedlNes Kha! n hasihe facllilbs and equlpmen\°lo adcomplsh moat of these services, exclusions may
          be);                                                                         .                         .

                    H)    Use or the School Distrlcfs space and technologies (much as use of Internet connection) to accomplish services for
                          students.

          The Uompsny agree that II shall fnalnlaln nnbuity Insurance dullrig the let of this Agreement and prdVlde proof of such !insurance to
          the Sohopl District. Paling the Deny Township .qdwoW as lhs 'Mdllfanal lnsure6' upon inlilatlon of this Agreement or belgre
          performance of services thereunder. The Company egress tmproWda copras of Ill Insurance proof to the School Dlslrld and other
          such proof of Iloensue as reqdred. ~.
                                                                                       .... ,
               4.   Cnnfldentlallty.

          In the course of perforrnlng eervlces. the parlles recognize that the Company and School Dlsuici may Como In oonkacl or boccme
          Iumlllar with students' and/or !amIty's Idomwllon Cr other information Ibo each party or lls subsidiaries or aftiftales may wnslder
    Phone: 717.391.0172
    Fax: 717.391 ,7771

                                •O        I. ...   . '. .
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               Case 1:21-cv-01736-YK Document 1-2 Filed 10/11/21 Page 13 of 14
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      cnnNdaniiai. The Company and School Dlslrld agrees 10 keep all such Information Cr>nMenl&al and na to dhcuss or divuiga II In
      anyone other than appropriate personnel G! their 4asigneea.                          -            -

      The Company agrees lo to Now ail HIPAA Ruth and Regulallons in maintaining the patients nonideniiallty wah mspacl to au
      iniomatlon.

         5.        Mlscellaneoua

                    a. Emirs Agrusmant and Arnandrnhnia. This Agreement mnstilules khan entire agraarnenl of the parties with
                    regard to the sued mailer hereof, and replaces and superssdas all olhsr agreements or understandings.
                   -whether wrluen. or oral. No amendment or exxenslcn of Mb Agreement shall Us bindingUnless In writing and
                    signed by both parties.
                                                                                                                                        4


                   b. Governing Law, Severabllhy. This Agreement shall be governed bythe laws ofthe.Slale of Pennsylvania. II
                   any provision of th[s.Agreernenl la held by a court of calimpelent lurlsdldfon lo he unenlorceahle. the ramindaraf
                   the Agreement shall remain In full force and effendi and shall in np way he Impaired.    .

                   c. Lranllizy. Ilia Camplariy Is Uabtc for the work he/she pedaxms under lMtsmus of the Agnaemenl and Is
                   responsible nu perfmrn al the tlmesfptaoés muluaily agreed upon ba1ween.lhé Company and the Sdauol Dislrld.

      Company:

      T£AMCara Bahavtorai Health. LLC

      Bulk


      school Dlslrlct Representative:

      (Name)

                         r 83 hIM
      Full Name r Business NaniaVrintud                                lgnaiure of epfesantauve




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Phone: 717.391.0172
Fax: 717.391 .7771
      Case 1:21-cv-01736-YK Document 1-2 Filed 10/11/21 Page 14 of 14
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            In THE CQURT OF COMMON PLEAS FOR DAUPHIN COUNTY, PENNSYLVANIA


JENNIFERL. HYNES

                 AND                                   DOCKET no.

TEAMCARE BEHAVIORAL HEALTHLLC
                                                       Jury Trial Demanded
                                Plaintiffs,

                         v.
DERRY TOWNSHIP SCHOOL DISTRICT

                                Defendant



                                         VERIFICATION
          I, Jennifer Hynes, in my individual capacity and as authorized representative of

TZEAMCare, do hereby state that the statements made in the foregoing Complaint are tme and

correct based upon my knowledge information and belief. I understand that false statements are

made subject to penalties of 18 Pa. C.S. §49(     elating to unsworn falsification to authorities.



                                                I1HLI¢I'    ynes
                                                                              IMO
Dated :         June 24, 2021
